  Case 3:06-cr-00210-CCC         Document 122       Filed 04/09/07     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                  CRIMINAL 06-0210CCC
 1) ANGEL CRUZ-PEREZ
 (Counts 1, 2, 3)
 2) ISRAEL RUIZ-QUIÑONES
 (Counts 1, 2, 3)
 3) CARLOS J. RODRIGUEZ-LUGO
 (Counts 1, 2, 3)
 4) JOSE A. VAZQUEZ-CASTRO
 (Counts 1, 2, 3)
 5) HECTOR COLON-AVILEZ
 (Counts 1, 2, 3)
 6) LUIS MIGUEL CABALLERO-RUIZ
 (Counts 1, 2, 3)
 Defendants
                                         ORDER
       Having considered the Report and Recommendation filed on March 31, 2007 (docket
entry 112) on a Rule 11 proceeding of co-defendant Luis Miguel Caballero-Ruiz held before
Magistrate Judge Marcos E. López on March 6, 2007, to which no opposition has been filed,
the same is APPROVED. Accordingly, the plea of guilty of co-defendant Luis Miguel Caballero-
Ruiz is accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since March 6, 2007. The sentencing hearing is set for June 26,
2007 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on April 9, 2007.


                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
